Case: 1:17-md-02804-DAP Doc #: 1708-1 Filed: 06/20/19 1 of 3. PagelD #: 50829

COURT OF COMMON PLEAS

SENIOR JUDGES
FRANK T. HAZEL
ANN A, OSBORNE
CHARLES B, Bunr, tl
MICHAEL F. X. COLL
GREGoRY M. MALLON

KEVIN F. KELLY
PRESIDENT JUDGE

JUDGES
GEORGE A. PAGANO
KATHRYNANN W. DURHAM

 

Banry C, Dozor THIRTY ~SECOND JUDICIAL DISTRICT
CHAD F, KENNEY
JAMES P, BRADLEY COURTHOUSE
MARY ALICE BRENNAN
LINDA A. CARTISANO MEDIA, DELAWARE COUNTY, PENNSYLVANIA
SPiRos E. ANGELOS 19063

G. MICHAEL GREEN
NATHANIEL C, NICHOLS
JOHN P. CAPUZZI, SR.
RICHARD M. CAPPELLU
WILLIAM C. MACKRIDES
ANTHONY D, SCANLON
MarscaAnET J. AMOROSO

Downic F. PILEGG! , June 19, 2019

JOHN J. WHELAN

The Honorable Dan Aaron Polster
The Carl B. Stokes United States
Courthouse

801 West Superior Avenue
Courtroom 18B

Cleveland, OH 44113-1837

RE: National Prescription Opiate Litigation 1:17-MD-2804

 

County of Delaware, PA v. Purdue Pharma L.P,, et al.
NO. 2017-008095 — Coordinated Civil Proceedings

Dear Judge Polster,

My Chambers is presiding over the Commonwealth of Pennsylvania state-wide
coordinated prescription opiate litigation. The Coordination in the Commonwealth of
Pennsylvania was established by a March 26, 2018 Delaware County Common Pleas
Court Order. I am writing to request that the following two cases from the
Commonwealth of Pennsylvania which are currently on your docket be remanded to the
jurisdiction of the Delaware County Court of Common Pleas. The cases are;

1. Delaware County, Pennsylvania v. Purdue Pharma, L.P., et al. CA2:18-05627
2. County of Carbon v. Purdue Pharma, L.P., et al. CA2:18-05625.

 
Case: 1:17-md-02804-DAP Doc #: 1708-1 Filed: 06/20/19 2 of 3. PagelD #: 50830

At this time in Delaware County PA Common Pleas Court, I am presiding over
approximately fifty-five (55) cases in which the Plaintiffs consist of various Counties in
the Commonwealth of Pennsylvania, or Municipalities and/or third-party payor cases
consisting of union health and welfare funds. On September 14, 2018 a Case
Management Order #1 was entered in Delaware County that provided that the two (2)
above captioned matters, to wit Delaware County and Carbon County were identified as
preliminary objection/discovery test cases along with two additional proceedings, one
commenced by the Philadelphia District Attorney and the second by the Carpenters
Health and Welfare Fund of Philadelphia. The Case Management Order #1 also
established a discovery procedure and deadline of November 1, 2019 for the discovery.

The Delaware County and Carbon County cases were specifically selected by the
Court to be test cases because Delaware County is a large suburban area outside of
Philadelphia, Pennsylvania, and Carbon County is a more rural county in Northeastern
Pennsylvania. Together, both counties would represent a large cross-section of the
interest for citizens in the Commonwealth of Pennsylvania.

The Delaware County case was the first case filed in the Commonwealth of
Pennsylvania on September 21, 2017, which helps explain why all other Pennsylvania
cases thereafter found their way to Delaware County Pennsylvania. All proceedings
coordinated in Pennsylvania at this time are coordinated under the docket number for
the Delaware County complaint which is at 2017-008095, Court of Common Pleas of
Delaware County, Pennsylvania

At this time, there are over fifty-five (55) plaintiffs coordinated with additional
filings anticipated. We have over twenty-four (24) defendants consisting of
Manufacturers, Retailers and Distributors. The Court herein has heard arguments on
Preliminary Objections, issued Protective Orders and entertained Discovery applications.

On January 2, 2019 Defendant Walgreen Eastern Company filed a Notice of
Removal in the Carbon County and Delaware County test cases to the United States
District Court, Eastern District of Pennsylvania. The cases were consolidated by the
Eastern District and on April 3, 2019 the United States Judicial Panel on Multi District
Litigation entered an Order transferring the two proceedings to your jurisdiction.

The remand of the Delaware County and the Carbon County is warranted and
instrumental to the timely processing and management of the coordinated cases in
Pennsylvania. At this time, the interest of the Counties in the Commonwealth of
Pennsylvania are not being represented, and two substitute proceedings will have to be
identified and a new management order be implemented for the disposition of any
Preliminary Objections and discovery.

In the event of your timely remand, I will be reinstating these two cases as to
the existing Case Management Order with minimal modification.

2

 
Case: 1:17-md-02804-DAP Doc #: 1708-1 Filed: 06/20/19 3 of 3. PagelD #: 50831

Thank you for your attention, and please contact my Chambers with any
questions.

Very tr urs,
Ba : J.
cc: Carmen P. Belefonte, Esquire — Plaintiff Liaiso sel

Rocco P. Imperatrice, III, Esquire - Defense Liaison Counsel

BCD/amp

 
